Case 1:18-cr-20685-KMW Document 160 Entered on FLSD Docket 11/05/2019 Page 1 of 2




                            U NITED STA TE S D ISTR ICT C O U R T
                            SO U TH ERN D ISTR ICT O F FLO RID A

                       CASE NO.18-CR-20685-W ILLIAM S/TORRES

  U N ITED STATE S O F AM ER IC A

  V.

  A BR AH AM EDG AR D O O RTEG A ,

                              Defendant.
                                            /

  I?I lt>::

  LAND TRUST TH 041117,

                Third-party Petitioner.
                                            /

       ORDER AM ENDING PRELIM INARY ORDER OF FORFEITURE IECF NO.1241
                        T O R ELEA SE C ERTA IN R EA L PR O PERTY

         ThisCAUSE isbefore the Courtupon the United States'Unopposed M otion To Amend

  Preliminary OrderofForfeiture (ECF No.124jTo ReleaseCertain RealProperty from Criminal
  ForfeitureAncillaryProceedings(1$M otion'').BasedontheM otion,thezecordin thismatter,and
  forgood causeshown,itishereby ORDERED thatthe M otion isGRANTED .

         ltis further O RD ER ED that:

                ThePreliminaryOrderofForfeiture(ECF No.1244isherebyamended sothatreal
  property located at2101South SurfRoad,Unit2E,Hollywood,Florida(lûsubjectProperty'')is
  released from furthercrim inalforfeitureproceedings;

                AnydepositionsorotherdiscoveryobligationsregardingtheSubjectPropertyand
  asauthorizedbyOrder(ECF No.155)arecanceled;
                Al1remaining aspectsofthe Preliminary OrderofForfeiture shallremain in full
Case 1:18-cr-20685-KMW Document 160 Entered on FLSD Docket 11/05/2019 Page 2 of 2




  forceandeffect;and

               TheCourtshallretainjurisdictionoverthismatterforthepurposeofenforcingthis
  order.



           soORDERED thisi- dayof              ,2019.


                                         KA      EN M .W ILLIAM S
                                         UN ITE STA TES D ISTRICT JU D G E
